Case 4:22-cv-00302-RH-MAF Document 62

&’RPCourt Name: District Court
Division: 1
Receipt Number: FLN100004439
Cashier ID: kmalu
Transaction Date: 09/27/2022
Payer Name: Scott Huminski
NOTICE OF APPEAL/DOCKETING FEE
For: Scott Huminski
Case/Party: D-FLN-4-22-CV-000302-001
Amount: $505.00
CREDIT CARD
Amt Tendered: $505.00

Total Due: $505.00
Total Tendered: $505.00
Change Amt: $0.00

Note: Returned check fee is $53

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